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                            THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,

               Plaintiff,
                                                   CIVIL ACTION NO. 1:20-cv-669-MN
       v.

PASSIONFLIX, INC.,

               Defendant.


      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff”), by and through its

undersigned counsel, hereby voluntarily dismisses the above-captioned action with prejudice in

its entirety against Defendant Passionflix, Inc. (“Defendant”) pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i) by virtue of a Settlement Agreement between the parties to this action, whereby

both Plaintiff and Defendant will bear their own attorneys’ fees and costs and this Court will

retain jurisdiction to enforce the Settlement Agreement (to the extent needed). Defendant has

not served an answer or motion for summary judgment in this action and therefore dismissal

without a court order is appropriate

Dated: August 22, 2020                      Respectfully submitted,
                                            /s/Jimmy Chong
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